Case 1:17-cr-00101-LEK Document 466 Filed 04/25/19 Page 1 of 6      PageID #: 3998



KENJI M. PRICE #10523
United States Attorney
District of Hawaii

GREGG PARIS YATES #8225
Assistant United States Attorney
Room 6-100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
E-Mail:     gregg.yates@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,              )   CR. NO. 17-00101 LEK
                                       )
          Plaintiff,                   )   UNITED STATES’S MOTION TO
                                       )   CONTINUE DEADLINE TO RESPOND
    vs.                                )   TO DEFENDANT’S SECOND MOTION
                                       )   TO COMPEL AND NINTH MOTION
ANTHONY T. WILLIAMS (1),               )   FOR ORDER TO SHOW CAUSE;
                                       )   CERTIFICATE OF SERVICE
          Defendant.                   )
                                       )
                                       )

            UNITED STATES’S MOTION TO CONTINUE
     DEADLINE TO RESPOND TO DEFENDANT’S SECOND MOTION
    TO COMPEL AND NINTH MOTION FOR ORDER TO SHOW CAUSE

      Pursuant to Rule 12(c)(2) of the Federal Rules of Criminal Procedure, the

government respectfully submits this motion to continue the deadline to respond to

Defendant Anthony T. Williams’s (Defendant) Second Motion to Compel (2d
Case 1:17-cr-00101-LEK Document 466 Filed 04/25/19 Page 2 of 6       PageID #: 3999



Motion to Compel) and Ninth Motion For Order To Show Cause (9th OSC

Motion). These two motions, which the defendant filed on April 10, 2019, are

among three pending motions filed by the defendant that are currently before the

Court. ECF Nos. 437, 459, 460. The Court set the response deadline for the 2d

Motion to Compel and the 9th OSC Motion for April 25, 2019. ECF No. 461.

      The government requests a fifteen-day continuance of the deadline to

respond to these motions, from April 25, 2019 to May 10, 2019. This is the

government’s first request for an extension. The defendant is representing himself

pro se; counsel for the government has not met-and-conferred with the defendant

regarding this request.

      Good cause supports the government’s request. The discovery that the

defendant seeks in his 2d Motion to Compel—which requires the computer

accommodation that he seeks in his 9th OSC Motion—represents forensic images

primarily of certain computer and electronic media that belong to Defendant

Anthony Williams, which were seized as part of an investigation of mortgage fraud

activity conducted by the Federal Bureau of Investigation in Miami. Also included

are forensic images of computer and electronic media that belong to Defendant

Barbara Williams and Defendant Anabel Cabebe.

      These forensic images have been available to the defendant through his

standby counsel Lars Isaacson, Esq. for pick up and copying since January 23,


                                        2
Case 1:17-cr-00101-LEK Document 466 Filed 04/25/19 Page 3 of 6          PageID #: 4000



2019. See Attachment A. Moreover, during the week of April 15, 2019, counsel

for the government called Mr. Isaacson to inform him that the government had

prepared three hard drives that contain the forensic images to take to his client for

review in his presence at the Federal Detention Center. Mr. Isaacson asked that we

“leave him out of it,” as the defendant was “not his client.” He then asked the

government to memorialize the offer in writing.

      Additional time will be required to respond to the defendant’s motions. In

short, the hard drives containing the defendants’ own files present complex issues

balancing the defendant’s right of access with the limitations of his incarceration.

The legal issues were raised and litigated in earlier briefing relating to discovery

presented on CDs. Defendant’s Fourth Motion for Order to Show Cause, ECF No.

287; Response in Opposition, ECF No. 292; Order Denying Defendant’s Fourth

Motion for Order to Show Cause, ECF No. 297; Appeal of Magistrate Judge

Decision, ECF No. 300, Response in Opposition, ECF No. 304; Order Denying

Defendant’s Appeal, ECF No. 347. At issue on the 2d Motion to Compel and 9th

OSC Motion are much larger forensic imaging files, presented on hard drives,

which cannot practically be reduced to CDs. The government is attempting to craft

an accommodation that would permit the defendant to review the discovery on the

hard drives at the FDC in Mr. Isaacson’s presence. Attachment B. As of this date,

Mr. Isaacson has rejected this solution.


                                           3
Case 1:17-cr-00101-LEK Document 466 Filed 04/25/19 Page 4 of 6       PageID #: 4001



      Additional time will also be required to accommodate the undersigned

attorney’s schedule. Since the 2d Motion to Compel and 9th OSC Motions were

filed on April 10, 2019, the counsel has been occupied with responding to the

Suppression Motion filed by the defendant. ECF No. 437. In addition, the

undersigned counsel has been attending to the following other matters:

         • Appeal of detention order. United States v. Both-Magnisi, Cr. No. 19-

            43 SOM;

         • Indictment. United States v. Castro, Cr. No. 19-54 HG;

         • Interview. United States v. Udarbe, Cr. No. 17-322 LEK;

         • Warrants, new reactive matter. United States v. Sos, Jr., Mag. No.

            360 KJM.

      In sum, the government requires additional time to respond to the 2d Motion

to Compel and the 9th OSC Motion.

///

///

///

///

///

///

///

                                        4
Case 1:17-cr-00101-LEK Document 466 Filed 04/25/19 Page 5 of 6         PageID #: 4002



                                 CONCLUSION

      In light of the foregoing, the government respectfully requests a continuance

of fifteen days of the deadline to respond to the 2d Motion to Compel and 9th OSC

Motion to and including May 10, 2019.

                  DATED: April 25, 2019, at Honolulu, Hawaii.


                                              KENJI M. PRICE
                                              United States Attorney
                                              District of Hawaii


                                              By /s/ Gregg Paris Yates
                                                GREGG PARIS YATES
                                                Assistant U.S. Attorney




                                        5
Case 1:17-cr-00101-LEK Document 466 Filed 04/25/19 Page 6 of 6         PageID #: 4003



                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

Defendant to be served by First Class Mail:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820



             DATED: April 25, 2019, at Honolulu, Hawaii.


                                              /s/ Gregg Paris Yates
                                              U.S. Attorney’s Office
                                              District of Hawaii
